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                              IN THE UNITED STATES DISTRICT COURT
                                  NORTHERN DISTRICT OF OHIO
                                        EASTERN DIVISION


 UNITED STATES OF AMERICA,                            )     Case No. 1:23CR583
                                                      )
         Plaintiff,                                   )     JUDGE J. PHILIP CALABRESE
                                                      )
         V.                                           )     MAGISTRATE JUDGE
                                                      )     JENNIFER DOWDELL ARMSTRONG
 PATRICIA BONCHEK                                     )
                                                      )
         Defendant.                                   )     ORDER
                                                      )

        On August 21, 2024, the Court held a bond violation/detention hearing. At that hearing, the

United States was represented by AUSA Brett Hammond, and Defendant Patricia Bonchek ("Defendant")

was represented by Attorney Kevin Cafferkey. Pretrial Services Officer Tabitha Gatrell also attended.

        Based upon the Violation Report and the evidence presented at the hearing, the Court finds by clear

and convincing evidence that Defendant violated conditions of release as outlined in the Violation Report,

and that no condition or combination of conditions will reasonably assure the safety of the community. The

Court further finds that Defendant is not amenable to supervision.

        Accordingly, IT IS ORDERED that Defendant's bond is revoked, pursuant to 18 U.S.C. § 3148, for

violation of her conditions of release. The defendant is remanded to the custody of the United States Marshal

pending further proceedings before Judge J. Philip Calabrese.
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      IT IS SO ORDERED.


Dated: August 21, 2024                      s/ Jennifer Dowdell Armstrong
                                            Jennifer Dowdell Armstrong
                                            United States Magistrate Judge




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